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                 EXHIBIT 1
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                                               Blair Pharmacy
                                            We Customize. We Compound. We Care.



                                              Patient Information

Dear Patient,
Your physician has prescribed a topical cream to assist in alleviating your pain that requires a specialty pharmacy to
compound. For your convenience, your physician has forwarded your prescription to us to ensure that it is filled and
shipped promptly to you.

About Us
Our pharmacy is a national mail order specialty pharmacy that specializes in compounding topical medications.

Important Patient Information
   •   Your healthcare provider will fax the prescription to the pharmacy with your demographics and insurance
       information. Most major insurance carriers will cover your medication.
   •   A pharmacy representative may call you within 3 business days if any additional information is needed.
   •   If you have any questions about the process, please call us at (800) 822-5401.
   •   Shipment will be within 1 to 3 days, depending on the response time of your insurer.
   •   Your compound will be shipped overnight and free of charge to the address on file with your doctor. Please allow
       up to 5 business days for the pharmacy to process, compound, and deliver your topical medication.

Patient Instructions
   •   Carefully review the instructions provided with your medication and follow them to ensure maximum pain
       relief.
   •   Wash the affected area before application.
   •   Apply the prescribed amount of cream to affected area and rub in continuously for 2-4 minutes, or as directed
       by your physician.
   •   Keep the medication out of your eyes and open wounds (unless otherwise specified).
   •   Keep the medication out of reach of children.
   •   Do not bathe or swim for an hour after application.
   •   Store the product at room temperature.

If you have any questions or concerns regarding the medication or the ordering process, please call toll free at (800) 822-
5401 to speak with a company representative. The staff at Pharmacy Distributors prides itself on providing outstanding
customer service; however, should you choose to have another pharmacy fill this prescription please let your physician
know.

Sincerely,
Blair Pharmacy, Inc.
1818 Pot Spring Road
Timonium, Md 21093
(410) 252-2060
